            Case 1:18-vv-01234-UNJ Document 35 Filed 06/10/21 Page 1 of 4




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                               Filed: May 24, 2021

*************************
RYAN HODGES, as Mother and                *        No. 18-1234V
Natural Guardian of S.H., a minor,        *
                                          *
                     Petitioner,          *        Special Master Sanders
v.                                        *
                                          *
SECRETARY OF HEALTH                       *        Vaccine Rule 21(a);
AND HUMAN SERVICES,                       *        Order Concluding Proceedings
                                          *
                     Respondent.          *
*************************
Braden A. Blumenstiel, The Law Office of DuPont & Blumenstiel, Dublin, OH, for Petitioner.
Jeremy C. Fugate, United States Department of Justice, Washington, DC, for Respondent.

                               ORDER CONCLUDING PROCEEDINGS1

         On August 17, 2018, Ryan Hodges (“Petitioner”) filed a petition for compensation under
the National Vaccine Injury Compensation Program2 (“Vaccine Program” or “Program”). 42
U.S.C. § 300aa-10 to 34 (2012). Petitioner alleged that her minor child, S.H., suffered from various
symptoms and ailments resulting from a human papillomavirus (“HPV”) vaccine administered on
August 17, 2015 and December 31, 2015. Pet. at 1–6, ECF No. 1. On April 19, 2021, Petitioner
filed a joint stipulation of dismissal on behalf of the parties pursuant to Vaccine Rule 21(a)(1)(B).
ECF No. 33.

       Accordingly, pursuant to Vaccine Rule 21(a), this case is hereby dismissed without
prejudice. The Clerk of Court is hereby instructed that a judgement shall not enter in the instant
case pursuant to Vaccine Rule 21(a).

         IT IS SO ORDERED.

1
  Although this Order has been formally designated “unpublished,” it will nevertheless be posted on the Court of
Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Order will be available to anyone
with access to the internet. However, the parties may object to the Order’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has fourteen days within which to request redaction
“of any information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Order will be available to the
public. Id.
2
  National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755 (“the Vaccine Act” or “Act”).
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42
U.S.C. § 300aa (2012).
Case 1:18-vv-01234-UNJ Document 35 Filed 06/10/21 Page 2 of 4




                                  s/ Herbrina D. Sanders
                                  Herbrina D. Sanders
                                  Special Master




                              2
      Case 1:18-vv-01234-UNJ Document 35 Filed 06/10/21 Page 3 of 4




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*****************************
RYAN HODGES, as Mother          *
And Natural Guardian of S.H.,   *
A minor                         *
                                *                         Case No. 18-1234
                    Petitioner, *
                                *                         Special Herbrina Sanders
                    v.          *
                                *
SECRETARY OF HEALTH AND         *
HUMAN SERVICES,                 *
                                *
                    Respondent. *
*****************************

         JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE
    It is hereby stipulated by and between the parties, the following matters:

       1. On 8/17/2018, Ryan Hodges (as mother and natural guardian of S.H., a minor)

           filed a Petition for Vaccine Compensation.

       2. Petitioner sought supporting expert medical opinions from her treating physicians

           and retained experts but, for various reasons, was unable to obtain a supporting

           expert report.

       3. Petitioner and respondent hereby stipulate pursuant to Vaccine Rule 21(a) that

           this action shall be dismissed.

       4. The parties respectfully request this dismissal be without prejudice, as petitioner

           wants to preserve all legal rights potentially available to her.

       5. Petitioner understands that a decision by the Special Master dismissing her

           petition will result in no compensation being paid to petitioner. Petitioner has
Case 1:18-vv-01234-UNJ Document 35 Filed 06/10/21 Page 4 of 4




    been advised that such a judgment will end petitioner’s rights in the Vaccine

    Program.

 6. Petitioner understands that counsel for petitioner may apply for attorney’s fees

    and expenses once this case is dismissed and judgment is entered against

    petitioner’s claim.

 7. Petitioner’s counsel has contacted respondent’s counsel regarding this Joint

    Stipulation of Dismissal. Respondent approves of and joins this Joint Stipulation

    of Dismissal.




                                                  /s/ Braden Blumenstiel
                                                  Braden A. Blumenstiel (0078254)
                                                  Attorney for Petitioner
                                                  DuPont & Blumenstiel
                                                  655 Metro Place South, Ste 440
                                                  Dublin, Ohio 43017
                                                  P: 614/ 408-0529
                                                  F: 866/465-1924
                                                  braden@dandblaw.com

                                                  /s/ Jeremy Fugate
                                                  Jeremy Fugate
                                                  Senior Trial Attorney
                                                  Torts Branch, Civil Division
                                                  U.S. Department of Justice
                                                  P.O. Box 146
                                                  Ben Franklin Station
                                                  Washington, D.C. 20044-0146
